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05-14693

lN THE UN|TED STATES D|STR|CT COURT FOR THE
WESTERN D|STR|CT OF TENNESSEE
EASTERN D|VlSlON

 

TRACY LYNN AUTRY, by and through
her next friend and Mother, CAROL HOOD

PLA|NT|FF

V. NO. 1-05-1213 - T An
PH|L HOOKER, TEACHER AT THE MlLAN
HiGH SCHOOL; JAMES TOWATER lN HlS
OFFlC|AL CAPAC|TY AS D|RECTOR OF
SCHOOLS OF MlLAN SPEC|AL SCHOOL
D|STR|CT; T|M WARREN AS PR|NC|PAL OF
THE MlLAN HIGH SCHOOL |N THE MlLAN
SPEC|AL SCHOOL D|STR|CT; JERRY
JOHNSON, FEDERAL R|GHTS
COORD|NATOR OF THE MlLAN SPEC|AL
SCHOOL D|STR|CT; BOARD OF
DIRECTORS OF MlLAN SPEC|AL

SCHOOL D|STR|CT,

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DEFENDANTS.

 

ORDER GRANT|NG |V|OT|ON AND NlE|\/|ORANDUM FOR EXTENS|ON OF T|NlE
TO F|LE RESPONSIVE PLEAD|NG

 

The Court, having reviewed the Defendants' lVlotion and lVlemorandum for an
Extension of Time to File Responsive Pleacling, along with the supporting Consu|tation of
Counse|1 hereby determines that the Nlotion is grantedl

Accordingly, the Defendants have until August 29, 2065, to file a responsive
pleading to the Complaint filed by the Plaintiffs.

Entered this [Q"-{‘-date of August, 2005.

This document entered on the docket

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with Ftule 58 and,’or_?Q (a) FHCP on § l Op

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APPROVED FOR ENTRY:

WALDROP & HALL, P.A.

 
    
   

Charle Nl Purcell,
Jennif . Craig( 0036)
Attorneys for Defendants
106 South Liberty Street
Jackson, TN 38301
731-424-6211

CERT|F|CATE OF SERV|CE

This is to certify that l served a copy of this pleading or papers in person or by mail
upon each attorney or firm of attorneys appearing of record for each adverse party on or
before the filing date thereof.

DATE: This thei§ i{I/c`l‘./ay of July, 2005

WALDROP & H/°\LL1 P.A.

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By: /'

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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August 11, 2005 to the parties listed.

 

 

Janice J ones

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Honorable J ames Todd
US DISTRICT COURT

